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IN THE UNITED STATES DISTRICT COURT fo"

FOR THE DISTRICT OF MAINE nae ;

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(BANGOR DIVISION) ERLE Pilate

2024 JAN 22 A 8 43

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DIANNE V PEASLEE

-against-

DARRLY BROWN SR
DARRYL BROWN JR
BROWN’S EXIT 27 SALVAGE

Complaint for a Civil Case

Civil No.
(to be filled in by the Clerk's Office)

Jury Trial: 11 Yes X No
(check one)

I The Parties to This Complaint
A The Plaintiff

Name

Street Address
City and County
State and Zip Code
Telephone

Email

Dianne V Peaslee

105 Togus Road
Chelsea, Kennebec
Maine 04330

(207) 707-2753
abiddl194(@yahoo.com

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B The Defendants
Defendant Number |
Name Darryl Brown SR
Street Address 761 Hallowell-Litchfield Road
City and County West Gardiner, Kennebec
State and Zip Code Maine 04234

Telephone (207) 724-7355

Email unknown
Defendant Number 2

Name Darryl Brown JR

Street Address 7oCentral Street
City and County Hallowell, Kennebec
State and Zip Code Maine 04347

Telephone (207) 441-3321

Email junkyardbub@aol.com
Defendant Number 3

Name Brown’s Exit 27 Salvage

Street Address 971 Brunswick Avenue

City and County West Gardiner, Kennebec

State and Zip Code Maine 04345

Telephone (207) 582-7002

Email unknown
PLAINTIFF has named Brown's Exit 27 Salvage as Defendant because in text messages
Defendant 2 has stated “we” file specific forms when “we” file taxes. PLAINTIFF believes the
DEFENDANTS may file income jointly under this business.

II. Basis for Jurisdiction

X Federal question O Diversity of citizenship

A. The Basis for Jurisdiction Is of Federal Question arising from violation/s of

28 U.S.C. §1331

The court had jurisdiction as there are Federal questions arising under

Constitution, laws or treaties of the United States

1) 15 U.S.C.§ 1702, HUD Full Disclosure and Maine Statute Title 33, § 173,
Required Disclosures,

2) 26 CFR 1.6050 H-2 Reporting Mortgage Interest,

3) 18 U.S.C 1341 Frauds and Swindles and Maine Statute Title 17-a § 354
Theft by Deception

AND

28 U.S.C. §1332 (a) The court has jurisdiction over this case because there is

more than $75,000 exclusive of Interest and costs is at stake
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B. Diversity of Citizenship DOES NOT APPLY

DIANNE V PEASLEE also files and seeks damages on behalf of UNITED STATES
DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT for levy of fines, penalties
and interest associated with such violation/s as well as UNITED STATES DEPARTMENT OF
TREASURY aka INTERNAL REVENUE SERVICE for levy of fines, penalties and interest
associated with such violations, unless it is proven that DEFENDANTS 1&2 did not violate
FULL DISCLOSURE OR IRS FORM 1098 LAWS

Plaintiff's claim is as follows:

Ill. Statement of Claim

1) Addressing 15 U.S.C.§ 1702, HUD Full Disclosure and Maine Statute Title
33, § 173, Required Disclosures

BOTH U.S. Code and Maine Statutes require FULL DISCLOSURE of ALL demolition, repairs,
known defects etc

MAINE State Maine Statute Title 33, § 173 states that specifically the seller must disclose 1-
Water supply system, 2-Insulation, 2~-A-Heating system or heat source, 3-Waste disposal system,
4-Hazardous materials, 5-Known defects and Access to property. More specifically 5-Known
Defects states “Any known defects”

To date the only list of information the DEFENDANTS have given to PLAINTIFF is those
which the DEFENDANTS had a “Building Permit” from the Town of Chelsea to complete.

Comparing the Keenan Auction packet photos to the DEFENDANTS Craigslist photos, the
PLAINTIFF believes the DEFENDANTS completed many more repairs than they admitted to
2) Addressing 26 CFR 1.6050 H-2 Reporting Mortgage Interest

On 28 January 2019 PLAINTIFF sent an email to BONNIE CASPERSON at ACADEMY
TITLE, the title company the DEFENDANTS hired to complete title paperwork for transfer of
Deed.

PLAINTIFF needed to obtain either the DEFENDANTS Social Security Numbers or Federal ID
numbers or an IRS FORM 1098.

PLAINTIFF needed this information in order to file a tax return

PLAINTIFF'S Credit Union needed a copy to show proof of Mortgage payments which included
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interest.

PLAINTIFF’s Credit Union stated this form should be given to any individual in any year which
they pay $600 or more in interest.

Between September 2018 and December 2018, PLAINTIFF had paid 4 $600 Mortgage payments
totaling $2400 which included $1158.94 in interest, approximately double the minimum to
require this form be submitted.

BONNIE said ACADEMY TITLE doesn’t release this information to an opposing party.

PLAINTIFF then called DEFENDANT 1 at his place of business, Brown’s Exit 27 Salvage, and
left a message on his voicemail that either this form or the numbers are needed.

TO DATE neither the IRS FORM 1098 or any numbers have been given to PLAINTIFF to file
with an annual Tax Return.

3) Addressing 18 U.S.C 1341-Frauds and Swindles and Maine Titlel17-a § 354
Theft by Deception

PLAINTIFF claims that DEFENDANT 1 and DEFENDANT 2 did purposefully and maliciously
present false and misleading statements in regards to a piece of real estate, repairs they made to a
home included in that real estate, defects they covered up within that home, for the purpose of
deceiving and enticing an individual to purchase said real estate.

PLAINTIFF purchased a property, located at 105 Togus Road Chelsea ME, from
DEFENDANTS | & 2.

PLAINTIFF had text and verbal conversations with DEFENDANT 2 prior to purchase of
said property. *Text conversations between Plaintiff and Defendant 2 are attached

a) In one verbal conversation Defendant 2 had directed plaintiff to a Craigslist
advertisement of the property. *This advertisement is attached

PLAINTIFF had verbal conversations with DEFENDANT 1 prior to purchase of said
property.

PLAINTIFF believed and acted upon the statements made, by DEFENDANTS 1 & 2, to
be truthful while considering purchasing said property.
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IV.

1)

2)

On or around 23 November 2020, PLAINTIFF discovered that DEFENDANT 1 and
DEFENDANT 2 had

a) grossly understated the amount of repairs they had completed to the home the
PLAINTIFF purchased from them

b) purchased the property at a Real Estate Foreclosure Auction. Photos for that
auction show much more damage to the property than what DEFENDANT 1
& DEFENDANT 2 claim were repaired *Auction packet is attached

PLAINTIFF’s reliance of statements made by DEFENDANTS | & 2 caused PLAINTIFF
to remove $15,000 from a Federal Employee Retirement Savings (FERS) Account, on 31
August 2018, to serve as a down payment on said property.

PLAINTIFF’s FERS account had historically and the remaining balance continues to
gain an average of around 12% interest compounded annually.

PLAINTIFF is no longer a federal employee so is not able to contribute funds into the
FERS account causing a loss of interest, resulting from the $15,000 withdrawal, for the
time covering August 2018-November 2038

This purposeful fraudulent deception has caused PLAINTIFF to suffer a projected loss of
$144,694 in principle and interest. *20 year interest projection per Nerd Wallet attached

Relief

PLAINTIFF seeks relief in the form of release of the Deed for the property located at 105
Togus Road in Chelsea Maine, or the return of $31,800. This amount is based on the
initial Down Payment of $15,000 plus 28 $600 Mortgage payments made to the
DEFENDANTS from September 2018-January 2021.

PLAINTIFF claims an actual loss of $129,694. This amount reflects the loss of interest
which would have accumulated on the $15,000 removed from FERS account, which was
used as down payment on the property. The total loss on this is $144,694 but PLAINTIFF
has already removed the $15,000 in #1 above. This interest is based on the historic
average of 12% interest from August 2018 until retirement age of 67 in November 2038.
This is a permanent damage suffered by PLAINTIFF as deposits are no longer able to be
added to this account. Had the DEFENDANTS not so willfully presented such fraudulent
information surrounding the property, the PLAINTIFF would not have removed this
money from the FERS account in order to purchase the property.
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3) PLAINTIFF claims punitive/exemplary damages in the amount of $500,000 from each
DEFENDANT, totaling $1,000,000. This is based on the severe emotional, mental and
psychological stress inflicted upon the PLAINTIFF through DEFENDANT 1 and
DEFENDANT 2’s willful and fraudulent misrepresentation of the condition of the
property, their continued refusal to give promised paperwork regarding the property, their
continued refusal to address their shoddy repairs to the property, and general lack of any
moral standard surrounding the sale of this property.

Closing

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: tel ava
Signature of Plaintiff Al En Ok

Printed Name of pune Wak 1 ne teaslee

